  Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 1 of 13
FOR OFFICIAL PUBLICATION



                      8DISTRICT COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )      Case No. 3:18-cr-0037
                                              )
AUBREY FRETT,                                 )
                                              )
                     Defendant.               )
                                              )

ATTORNEYS:

Gretchen C.F. Shappert, United States Attorney
Everard E. Potter, AUSA
Nathan Brooks, AUSA
United States Attorney’s Office
St. Thomas, U.S.V.I.
       For the United States of America,

Richard Coughlin, Federal Public Defender
Kia Danielle Sears, AFPD
Office of the Federal Public Defender
St. Thomas, U.S.V.I.
        For Aubrey Frett.

                                  MEMORANDUM OPINION

MOLLOY, J.

       BEFORE THE COURT is Aubrey Frett’s motion for a judgment of acquittal. Frett

contends that there was insufficient evidence wherein a reasonable jury could find him guilty

beyond a reasonable doubt on Count One of the Indictment charging him with possession of

a firearm with an obliterated serial number. Because the Court concludes that there was

insufficient evidence for a reasonable jury to find that Frett knew that a metal plate

containing the serial number had been removed from the firearm, the Court will grant the

motion.
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 2 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 2 of 13

                         I. FACTUAL AND PROCEDURAL BACKGROUND

        On September 3, 2018, officers with the Virgin Islands Police Department (“VIPD”)

attempted to arrest Frett on a warrant at a location in St. Thomas, U.S. Virgin Islands. Frett

fled, and the officers observed him throw away a black object. Frett was eventually

apprehended. A search of Frett’s person revealed that he was carrying marijuana and

cocaine. After searching the area where officers observed Frett throw the object, officers

discovered a handgun and magazine.

        On March 21, 2019, the Grand Jury returned a four-count indictment (the

“Indictment”) charging Frett with the following offenses: (1) possession of a firearm with an

obliterated serial number in violation of 18 U.S.C. § 922(k); (2) possession with intent to

distribute crack cocaine in violation of 21 U.S.C. § 841(a)(1); (3) possession with intent to

distribute marijuana in violation of 21 U.S.C. § 841(a)(1); and (4) possession of a firearm

during drug trafficking in violation of 18 U.S.C. § 924(c).

        On January 23-24, 2020, this matter was tried before a jury. With respect to the

handgun recovered by the VIPD, officers testified that it was a 9mm Glock. The particular

make and model of that firearm normally has a serial number displayed in three locations:

First, a “metal plate” bearing the firearm’s serial number is affixed to the lower receiver. See

Det. Velazquez Trial Test., ECF No. 95 at 81:22-23, 82:3. Second, the serial number is stamped

into the upper receiver. Third, the serial number is stamped into the barrel. On the Glock

recovered by the VIPD, the stamp on the lower receiver had been entirely removed. The

serial numbers on the upper receiver and barrel, however, were both unmarred and entirely

legible. See Det. Velazquez Trial Test., ECF No. 95 at 91:23-25, 106:2-8.
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 3 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 3 of 13

        At the close of the Government’s case, Frett moved for a judgment of acquittal on all

counts. The Court denied Frett’s motion with respect to Counts Two through Four and took

Frett’s motion under advisement with respect to Count One, possession of a firearm with an

obliterated serial number. Thereafter, Frett rested without presenting any further witnesses

or evidence.

        On January 24, 2020, the jury returned a verdict of guilty on Counts Two and Three—

the two drug charges. The jury was unable to reach a decision on Counts One and Four—the

two firearms charges. The Court, thereafter, declared a mistrial with respect to Counts One

and Four.

        On March 13, 2020, Frett filed a motion requesting that the Court issue a decision on

his motion for a judgment of acquittal on Count One, which the Court took under advisement

at the close of the Government’s case. (ECF No. 97.) Frett argues that, because the firearm in

this matter still bore two unmarred serial numbers, it did not have a “removed, obliterated,

or altered” serial number within the meaning of 18 U.S.C. § 922(k). Alternatively, Frett

argues that there was insufficient evidence to establish that he knew the firearm’s serial

number was removed, obliterated, or altered.1

                                         II. LEGAL STANDARD

        A judgment of acquittal is appropriate under Federal Rule of Criminal Procedure

29 (“Rule 29”) if, after reviewing the record in a light most favorable to the prosecution, the

Court determines that no rational jury could find proof of guilt beyond a reasonable



1On May 22, 2020, the Government moved to dismiss Counts One and Four without prejudice. (ECF No. 106).
On June 22, 2020 (ECF No. 109), Frett filed a Notice with the Court requesting that the Court first rule on the
pending motion for judgment of acquittal before ruling on the Government’s motion to dismiss. Frett,
nonetheless, requests that the Court dismiss the Counts with prejudice.
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 4 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 4 of 13

doubt. United States v. Bobb, 471 F.3d 491, 494 (3d Cir. 2006); see also United States v. Smith,

294 F.3d 473, 476 (3d Cir. 2002) (explaining that district court must “‘review the record in

the light most favorable to the prosecution to determine whether any rational trier of fact

could have found proof of guilt beyond a reasonable doubt based on the available evidence’”

(quoting United States v. Wolfe, 245 F.3d 257, 262 (3d Cir. 2001))).

        A finding that there is insufficient evidence to support a conviction should be

“‘confined to cases where the prosecution's failure is clear.’” Smith, 294 F.3d at 477

(quoting United States v. Leon, 739 F.2d 885, 891 (3d Cir. 1984)). “Courts must be ever

vigilant in the context of [Rule] 29 not to usurp the role of the jury by weighing credibility

and assigning weight to the evidence, or by substituting its judgment for that of the

jury.” United States v. Brodie, 403 F.3d 123, 133 (3d Cir. 2005) (citations omitted); see

also United States v. Ashfield, 735 F.2d 101, 106 (3d Cir. 1984) (“Our task is not to decide

what we would conclude had we been the finders of fact; instead, we are limited to

determining whether the conclusion chosen by the fact finders was permissible.”).

        The government may sustain its burden entirely through circumstantial

evidence. Bobb, 471 F.3d at 494; see also United States v. Wexler, 838 F.2d 88, 90 (3d Cir.

1988). A motion for a judgment of acquittal should be granted when there is a “total absence

of evidence that [the] defendant had any connection” with the crimes alleged and

proved. United States v. Darrell, 629 F.2d 1089, 1091 (5th Cir. 1980) (conviction reversed

with directions to enter judgment of acquittal in mail fraud case, noting there was little Fifth

Circuit precedent saying what evidence would permit an inference of the defendant's

identity).
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 5 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 5 of 13

                                       III. DISCUSSION

    A. Section 922(k) Applies to Firearms Bearing Multiple Serial Numbers

        Section 922(k), title 18, of the U.S. Code (“Section 922(k)”) provides:

           It shall be unlawful for any person knowingly to transport, ship, or
           receive, in interstate or foreign commerce, any firearm which has had the
           importer's or manufacturer's serial number removed, obliterated, or
           altered or to possess or receive any firearm which has had the importer's
           or manufacturer's serial number removed, obliterated, or altered and
           has, at any time, been shipped or transported in interstate or foreign
           commerce.

18 U.S.C. § 922(k). There is no dispute that one of the serial numbers on firearm in this matter

was removed. The question before the Court is whether the removal of one serial number is

sufficient to sustain a conviction under Section 922(k) when the firearm in question

normally bears multiple serial numbers.

        “It is the cardinal canon of statutory interpretation that a court must begin with the

statutory language.” In re Philadelphia Newspapers, LLC, 599 F.3d 298, 304 (3d Cir. 2010).

“[C]ourts must presume that a legislature says in a statute what it means and means in a

statute what it says there. When the words of a statute are unambiguous, then this first canon

is also the last: judicial inquiry is complete.” Conn. Nat'l Bank v. Germain, 503 U.S. 249, 253–

54 (1992) (citations and quotation marks omitted). When the statutory language is

ambiguous, however, Courts may attempt to resolve the ambiguity by reference to the

legislature’s overall intent and purpose in enacting the statute. See United States v. Introcaso,

506 F.3d 260, 267 (3d Cir. 2007) (explaining that, when the plain language of a statute is

ambiguous, “[w]e next look to statutory purpose to the extent we can discern it.”); see also In

re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 284 (3d Cir. 2016)

(“‘[W]hen technological change has rendered its literal terms ambiguous, a law must be
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 6 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 6 of 13

construed in light of its basic purpose.’” (original alterations and internal quotation marks

omitted)).

        The Court is unaware of any precedential appellate authority addressing the

operation of Section 922(k) with respect to firearms with multiple serial numbers. A similar

provision in the sentencing guidelines, Section 2K2.1(b)(4), provides for a sentencing

enhancement when a defendant is convicted of a crime involving a firearm that “had an

altered or obliterated serial number.” See U.S.S.G. 2K2.1(b)(4). Several courts have held that

this enhancement applies when a firearm has multiple serial numbers, only one of which is

altered or obliterated. Those courts placed heavy weight on Section 2K2.1(b)(4)’s use of

“an.”2 As the Sixth Circuit explained,

            “in common terms, when ‘a’ or ‘an’ is followed by a restrictive clause or
            modifier, this typically signals that the article is being used as a synonym
            for either ‘any’ or ‘one.’” United States v. Alabama, 778 F.3d 926, 932
            (11th Cir. 2015). For example, if a speaker says, “Give me an apple,” most
            reasonable listeners would interpret that as, “Give me any apple,” or,
            “Give me just one apple.” Read in that fashion, the § 2K2.1(b)(4)(B)
            enhancement applies either when any serial number on a gun has been
            altered or obliterated or when just one serial number has been altered or
            obliterated.

United States v. Warren, 820 F.3d 406, 408 (11th Cir. 2016) (alterations omitted).

        Unlike Section 2K2.1(b)(4), Section 922(k) addresses the obliteration or alteration of

“the importer's or manufacturer's serial number.” See 18 U.S.C. § 922(k) (emphasis added).

This language seems to contemplate a situation in which a firearm has only one serial



2 See United States v. St. Hilaire, 960 F.3d 61, 65 (2d Cir. 2020) (“The wording references ‘an’ altered or
obliterated serial number; it ‘does not require that all of the gun's serial numbers be so affected.’” (quoting
United States v. Serrano-Mercado, 784 F.3d 838, 850 (1st Cir. 2015))); United States v. Sands, 948 F.3d 709, 713
(6th Cir. 2020) (same); United States v. Jones, 927 F.3d 895, 897 (5th Cir. 2019) (same); United States v. Thigpen,
848 F.3d 841, 845-46 (8th Cir. 2017) (same); United States v. Warren, 820 F.3d 406, 408 (11th Cir. 2016)
(same); Serrano-Mercado, 784 F.3d at 850 (same).
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 7 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 7 of 13

number. Indeed, the relevant regulations only require manufacturers and importers to place

one serial number on a completed firearm. See 27 C.F.R. §§ 478.92, 479.102. And in that

context, Section 922(k) is unambiguous: It is illegal to remove the only serial number on a

firearm. The language is ambiguous, however, in its application to firearms with multiple

serial numbers.

        Congress’s intent in enacting Section 922(k) was “to assist law enforcement by

making it possible to use the serial number of a firearm recovered in a crime to trace and

identify its owner and source.” United States v. Marzzarella, 614 F.3d 85, 98 (3d Cir. 2010).

Using “[f]irearms without serial numbers” helps “those engaged in illicit activity because the

absence of serial numbers helps shield recovered firearms and their possessors from

identification. Their prevalence, therefore, makes it more difficult for law enforcement to

gather information on firearms recovered in crimes.” Id. To that end, Section 922(k)

“criminaliz[es] the possession of firearms which have been altered to make them harder or

impossible to trace.” Id. at 101; see also United States v. Adams, 305 F.3d 30, 34 (1st Cir. 2002)

(“Yet anyone can see what Congress was getting at in the statute. . . . [T]he statute aims to

punish one who possesses a firearm whose principal means of tracing origin and transfers

in ownership—its serial number—has been deleted or made appreciably more difficult to

make out.”).

        In relevant part, 18 U.S.C. § 921 (“Section 921”) defines a “firearm” as “any weapon

. . . which will or is designed to or may readily be converted to expel a projectile by the action

of an explosive” or “the frame or receiver of any such weapon.” 18 U.S.C. § 921(a)(3)(A)-(B).

This definition recognizes that “the component parts” of many firearms “are

interchangeable.” See St. Hilaire, 960 F.3d at 65. “[M]atching serial numbers [on these parts]
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 8 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 8 of 13

assure[s] reliable identification of the firearm as a whole, and a single altered or obliterated

serial number renders it more difficult to trace.” Id. Construing Section 922(k) to apply to

firearms that have only one of several serial numbers removed would “facilitate tracking

each component that bears a serial number” and “serve as a deterrent to tampering, even

when incomplete,” thereby furthering the intent of the Section 922(k). See Serrano-Mercado,

784 F.3d at 850 (discussing Section 2k2.1(b)(4)).

        Though in a nonprecedential opinion, such was the construction given to Section

922(k) by the Sixth Circuit in United States v. Mixon, 1998 U.S. App. LEXIS 25816, 1998 WL

739897 (6th Cir. Oct. 8, 1998). In that case, the defendant was convicted of possessing a

firearm with an obliterated serial number. On appeal, the defendant argued that the firearm’s

serial number was not “removed, obliterated, or altered” because, “neither the entire serial

number nor every appearance of the serial number on the weapon was obliterated.” Id. at *3.

The Sixth Circuit rejected this argument, explaining that “[t]he fact that the entire serial

number or other indications of the serial number on the weapon were not obliterated fails

to negate the fact that a portion of the serial number had been obliterated.” Id.

        In light of the legislative intent behind Section 922(k), the Court finds the Sixth

Circuit’s opinion in Mixon persuasive. Accordingly, the Court holds that a firearm bearing

multiple serial numbers, only one of which is removed, “has had the importer's or

manufacturer's serial number removed, obliterated, or altered” within the meaning of

Section 922(k).
    Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 9 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 9 of 13

    B. There was Insufficient Evidence for a Reasonable Jury to Conclude that Frett Had
       Knowledge that the Serial Number Was Removed

        The Court will now address Frett’s argument that the Government submitted

insufficient evidence for a reasonable jury to conclude that he knew that the firearm had a

serial number removed. To sustain a conviction under Section 922(k), the government must

prove that the defendant knowingly possessed a firearm with a removed, obliterated, or

altered serial number. See 18 U.S.C. § 922(k). A conviction thus requires proving “not only

knowing possession of the firearm, but also knowledge that the serial number on the firearm

had been obliterated.” United States v. Haywood, 363 F.3d 200, 206 (3d Cir. 2004); see also

United States v. Moore, 54 F.3d 92, 101 (2d Cir. 1995) (“The defendant must know that the

firearm had an altered serial number.”). “[G]enerally, ‘knowledge of defacement of the serial

number may be inferred where the defendant has possessed the gun under conditions under

which an ordinary man would have inspected it and discovered the absence of a serial

number.’” United States v. Haile, 685 F.3d 1211, 1220 (11th Cir. 2012) (quoting United States

v. Sullivan, 455 F.3d 248, 261 (4th Cir. 2006)).

        Here, the jury heard evidence that VIPD officers pursuing Frett saw him throw an

object and that officers later recovered a Glock handgun and loaded magazine near where

Frett had thrown the object. Swabs of the magazine and the Glock’s barrel, grip, and trigger

tested positive for the presence of Frett’s DNA.

        Detective Richard Velazquez (“Velazquez”)—a VIPD officer with approximately 28

years’ experience and who counts firearms instructor as among his duties in that role—

testified that “Glocks . . . have a stamp on the bottom [of the lower receiver] which has the

serial number.” ECF No. 95 at 81:23-24. Velazquez examined the Glock in this case shortly
   Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 10 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 10 of 13

after Frett’s arrest and testified that he “saw that the metal plate that’s on the receiver of the

firearm had been removed.” Id. at 82:3-4. Velazquez also testified that the serial number was

clearly visible in two other locations on the firearm, the barrel and upper receiver. Id. at

91:23-25, 106:2-8.

        Nicholas Robichaux (“Robichaux”)—an agent with the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (“ATF”) who primarily investigates federal firearm violation—

testified that Glocks generally have “a little metal plate on the bottom [that] . . . has the serial

number on it.” Id. at 164:12-14. Robichaux testified that the plate is “very small” and

approximately “half an inch in length.” Id. at 164:19. On the Glock in this case, the plate was

missing. Where it would normally be attached, there was “a vertical line” that was “a little

more shiny than the rest” of the gun. Id. at 164:25-165:1. The jury was also shown pictures

of the Glock that were consistent with the testimony of Velazquez and Robichaux.

        As a general rule, cases finding permissible the inference that a defendant knew the

gun he possessed had an obliterated serial number have involved one of two circumstances.

First, such an inference is permissible where the firearm in question bore no legible serial

number at all. See United States v. Hrobowski, 237 F. App'x 108, 109 (7th Cir. 2007) (“A

firearms expert determined that all three serial numbers on the handgun had been

intentionally obliterated.”); United States v. Mitchell, 229 F. App'x 153, 154 (3d Cir. 2007)

(“One of the guns from inside the couch, a Ruger .45 caliber pistol, was missing its serial

number.” (emphasis added)); United States v. Thornton, 463 F.3d 693, 699 (7th Cir. 2006)

(where “the serial number” was obliterated (emphasis added)); United States v. Moore, 54

F.3d 92, 101 (2d Cir. 1995) (“A rational juror could also conclude that when Moore

distributed guns to members of the organization he had inspected them and was aware that
   Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 11 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 11 of 13

they lacked serial numbers.”). Second, the inference is permissible when the firearm bore

obvious physical evidence of a serial number’s intentional obliteration, such as scratching,

gouging, or other conspicuous markings or disfigurement. See United States v. Garcia-

Hernandez, 803 F.3d 994, 999 (8th Cir. 2015) (“[T]he serial number was visibly scratched

out, as apparent in the photo exhibit at trial.” (emphasis in original)); United States v. Cobbs,

233 F. App'x 524, 536 (6th Cir. 2007) (“The evidence also established that the scraped-down

serial number was located on the back of the handle of the firearm, in the plain view of

anyone who handled it.”); United States v. Mitchell, 229 F. App'x 153, 154 (3d Cir. 2007)

(“Where the serial number should have been, there was visible discoloration due to the

gouging or grinding necessary to remove the number.”); United States v. Nesmith, 29 F. App'x

681, 685 (2d Cir. 2002) (discussing testimony tending to show that “the extent of the

obliteration was such that an individual could not handle the gun and not notice the

obliteration”).

        Here, the jury heard evidence that “a vertical line” was on the underside of the Glock,

which was just “a little more shiny than the rest” of the gun. See ECF No. 95 at 164:25-165:1.

This is a far cry from the type of conspicuous scratching and gouging generally found to

support an inference that a defendant knew a serial number was defaced. Moreover, the

Glock still bore two clearly visible serial numbers. Looking at the evidence in a light most

favorable to the prosecution, the United States only established that one iteration of the

Glock’s serial number was missing through the testimony of two law enforcement officers:

one, a firearms instructor with the VIPD, the other, an ATF agent who specializes in enforcing

federal firearms laws. Even if Frett had knowledge that a plate was missing from the receiver,

this does not demonstrate that he knew that the plate had a serial number imprinted on it or
   Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 12 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 12 of 13

that a serial number was removed. Cf. United States v. Johnson, 381 F.3d 506, 510 (5th Cir.

2004) (opining that “even if a person like Johnson, with his ‘street smarts’ about this category

of handguns, could conceivably have noticed the presence of . . . scratches on the receiver of

the gun during either of [two] fleeting, no-light or low-light instances [during which he

observed or handled the gun], mere awareness of the scratches can support no greater jury

inference than that the presence of scratch marks in that location on that pistol should give

rise to a generalized suspicion that the serial number might have been tampered with or

even altered. That is a far cry from specific knowledge of actual obliteration.”). Moreover,

there was a total absence of evidence regarding Frett’s level of expertise or familiarity with

firearms or that he knew or should have known that the firearm contained a metal plate

beneath the frame that contained a third serial number. Any conclusion to the contrary

would require a reasonable jury to impermissibly pile inference upon inference: first, that

Frett knew that a plate was missing from the firearm and second, that the missing plate

contained a serial number. Under these circumstances, the Court cannot conclude that the

inference that Frett knew about the Glock’s missing serial number is one a rational jury could

make.

        In support of its opposition to Frett’s motion for a judgment of acquittal, the United

States cites two cases: United States v. Naranjo-Rosario, 871 F.3d 86 (1st Cir. 2017) and

United States v. Thornton, 463 F.3d 693 (7th Cir. 2006). In Naranjo-Rosario, the only detail

the First Circuit provided about the nature of the firearm involved in that case was that it

was “a Glock pistol with an obliterated serial number.” See 871 F.3d at 91. The First Circuit

held that the jury could have inferred that the defendant possessed and handled the firearm

and “therefore must have seen that the [serial] number had been obliterated.” Id. at 95. The
   Case: 3:18-cr-00037-RAM-RM Document #: 111 Filed: 10/02/20 Page 13 of 13
United States v. Frett
Case No. 3:18-cr-0037
Memorandum Opinion
Page 13 of 13

firearm in Naranjo-Rosario had an obliterated serial number, unlike the firearm in this case.

There is also no indication whether the firearm in Naranjo-Rosario had serial numbers in

two other visible locations. As such, the Court does not believe that Naranjo-Rosario offers

support either for or against the position of the United States. As for Thornton, police found

a handgun in the defendant’s car that “had its serial number obliterated.” 463 F.3d at 696

(emphasis added). At the very least, the use of “its” implies that the firearm involved in that

case bore only one serial number, placing it squarely within the two circumstances discussed

above. Cf. United States v. Warren, 820 F.3d 406, 408 (11th Cir. 2016) (explaining that

“one of the serial numbers on [the defendant’s] gun was altered or obliterated” (emphasis

added)). Accordingly, the Court finds these two cases inapposite to the facts of this case and

will grant Frett’s motion for a judgment of acquittal on Count One.

                                      IV. CONCLUSION

        Based on the testimony of several witnesses at the trial, the firearm at issue in this

case ordinarily contained serial numbers on three different locations. The fact that the

firearm had visible, unaltered serial numbers on two of the three locations does not preclude

a prosecution for a violation of 18 U.S.C. § 922(k). However, the Government presented

insufficient evidence for a reasonable jury to conclude that Frett knew, or had reason to

know, that the small metal plate containing the third serial number on the firearm was

removed. For this reason, the Court will grant Frett’s motion for a judgment of acquittal and

enter a judgment of acquittal on Count One of the Indictment. An appropriate judgment

follows.

Dated: October 2, 2020                             /s/ Robert A. Molloy _________
                                                   ROBERT A. MOLLOY
                                                   District Judge
